Case 18-08006-JMM        Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35           Desc Main
                                   Document     Page 1 of 13



Randall A. Peterman, ISB No. 1944
Alexander P. McLaughlin ISB No. 7977
GIVENS PURSLEY LLP
601 West Bannock Street
Post Office Box 2720
Boise, Idaho 83701
Telephone (208) 388-1200
Facsimile (208) 388-1300
rap@givenspursley.com
alexmclaughlin@givenspursley.com
013448-0011

Attorneys for Banner Bank


                          UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF IDAHO


In Re:
                                                    Case No. 17-40973-JMM
WELLS ALAN WYATT,                                   Chapter 7

                      Debtor.

BANNER BANK,
                                                    Adversary No. 18-08006-JMM
                      Plaintiff,

vs.

WELLS ALAN WYATT,

                      Defendant.


                        PLAINTIFF’S PRETRIAL MEMORANDUM

               COMES NOW Banner Bank, by and through its counsel of record, Givens

Pursley LLP, and hereby submits this Pretrial Memorandum. This Pretrial Memorandum is split

into three parts: (a) an introduction; (b) the background of the case and a brief statement of the




PLAINTIFF’S PRETRIAL MEMORANDUM - 1                                                        14662585.3
Case 18-08006-JMM        Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35             Desc Main
                                  Document     Page 2 of 13



facts that Banner Bank will adduce at trial; and (c) the legal authority pertinent to the remaining

four Counts of Banner Bank’s Complaint.

                                   I.      INTRODUCTION

               The nondischargeability Complaint in this Adversary Proceeding was filed by

Banner Bank on February 14, 2018. CR 1. Wells Wyatt (“Debtor” or “Wyatt”) filed an answer,

after which substantial discovery ensued. CR 10. On January 18, 2019, Wyatt filed a motion for

summary judgment as to all six Counts in the Complaint, which was granted in part and denied

in part. CR 43, 77. More specifically, summary judgment was granted as to Count 1 and

Count 3; summary judgment as to the remaining Counts 2, 4, 5, and 6 was denied. Id.

                           II.     BACKGROUND OF THE CASE

       A.      The Wyatt and Candice Cooley Relationship.

               Candice Cooley (“Cooley”) will testify that her entire business background is

related to trucks and trucking, mainly in moving livestock across the country. The trucking

business was eventually undertaken under an entity that Cooley controlled known as Patrone

Livestock, LLC (“Patrone”).

               Cooley moved to Twin Falls in 2008, and met Wyatt in 2009, when the two

became romantically involved. Wyatt moved in with Cooley in 2009 after his wife learned of

the romantic relationship. Cooley and Wyatt separated and then parted ways in 2016.

               Cooley will prove to be a critical witness. She was the bookkeeper for Wyatt

Livestock, Inc. (“Wyatt Livestock”). Cooley was also a co-owner and bookkeeper for Wyatt

Feeding LLP (“Wyatt Feeding”). She assisted Wyatt in preparing the critical borrowing base

certificates (“BBCs”) and submitted them once a month to Banner Bank, as to loans it made to




PLAINTIFF’S PRETRIAL MEMORANDUM - 2                                                        14662585.3
Case 18-08006-JMM          Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35          Desc Main
                                    Document     Page 3 of 13



both entities. Cooley’s sworn testimony is diametrically opposed to that of Wyatt as to almost

all significant issues of fact.

        B.      The Wyatt/Timmerman Relationship.

                At trial Banner Bank will prove the following background facts of the case.

                Wyatt Livestock and a group of individuals and entities from the Midwest known

as the Timmermans (collectively “Timmermans”) had been parties to a joint venture since 2003.

There was no written agreement, just a series of oral joint venture agreements. The parties’

relative interests in the joint venture livestock were reflected in part in the BBCs that Wyatt

Livestock prepared, signed, and delivered monthly to Banner Bank under the loan documents.

Wyatt created two entities (a) Wyatt Livestock, an Oregon corporation formed in June 2007; and

(b) Wyatt Feeding, an Idaho limited liability partnership formed in July 2013. The principal

business of Wyatt and his two entities was to operate a joint venture with the Timmermans.

        C.      The Course of Dealing Between Wyatt and Timmerman.

                At trial Banner Bank will establish the course of dealing between Wyatt and

Timmerman as follows:

                       Wyatt Livestock would purchase young cattle for the joint venture in early
                        spring, and bring them to the Wyatt Feeding feedlot in Idaho, then put
                        them to pasture in Nevada. The Timmermans would pay the cost of
                        pasturing. Brand inspections were undertaken when the livestock crossed
                        state lines.

                       There would consistently be a period of at least two days from Wyatt
                        Livestock’s purchase of the livestock with Banner Bank loan proceeds, to
                        when Wyatt Livestock would be reimbursed for that purchase by the
                        Timmermans. During this window of time the perfected security interest
                        of Banner Bank would attach to all such livestock. Those cattle would be
                        purchased with funds from an operating loan that Banner Bank had
                        provided Wyatt Livestock. The Timmermans were fully aware of this.

                       Wyatt Livestock would then be reimbursed by the Timmermans for the
                        cost of the purchase of the cattle. However, during the last two or three



PLAINTIFF’S PRETRIAL MEMORANDUM - 3                                                           14662585.3
Case 18-08006-JMM       Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35           Desc Main
                                 Document     Page 4 of 13



                     years of the parties’ relationship, Wyatt Livestock would not apply the
                     reimbursement from the Timmermans to the Banner Bank loan. Instead,
                     Wyatt would use the proceeds to pay for other deals with the
                     Timmermans.

                    After pasturing by Wyatt, the joint venture cattle would be pastured, fed,
                     fattened, and then slaughtered by the Timmermans. Some trucking
                     services for the movement of the joint venture cattle would be provided by
                     Patrone.

                    The Timmermans would have the joint venture cows slaughtered, with net
                     proceeds being split (for the most part on a 50/50 basis) between Wyatt
                     Livestock and the Timmermans.

                    The joint venture “deal” was, as stated by Wyatt, “[j]ust say it was a 50%
                     ownership in—50 percent equity or—in the livestock.” It was a “profit
                     sharing program.” Net proceeds would be determined solely by the
                     Timmermans by computing the gross value obtained from slaughter, less
                     the following costs, which were provided in the form of a “close out
                     sheet.”

                            Purchase costs of livestock.

                            Pasturing costs of livestock.

                            Trucking costs.

                            Feeding costs by the Timmermans.

                            Interest for all advances made by the Timmermans.

                            All costs of future trading, which was done totally by the
                             Timmermans.

                            All accounting regarding the joint venture cattle was undertaken by
                             the Timmermans.

       D.     The Banner Bank Relationship with Wyatt Livestock and Wyatt Feeding.

              The testimony will show that Wyatt Livestock funded its joint venture activities

with the proceeds of a revolving operation line of $2 million made by Banner Bank, and

collateralized by all Inventory, Accounts, Equipment, Crops, Farm Products, Livestock and Farm

Equipment. Wyatt Feeding borrowed $500,000 from Banner Bank, and collateralized that loan




PLAINTIFF’S PRETRIAL MEMORANDUM - 4                                                      14662585.3
Case 18-08006-JMM        Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35             Desc Main
                                   Document     Page 5 of 13



by a subordinate mortgage interest on its feedlot, and a first perfected security interest in certain

certificated vehicles, all Inventory, Feed Inventory, Accounts, Equipment, General Intangibles,

Crops, Farm Products and Farm Equipment. The Timmermans were aware of the loan and

aware of Banner Bank’s security interest in the livestock.

               1.      Loan to Wyatt Livestock

               A loan was made by Banner Bank to Wyatt Livestock as follows:

                      A $2 million revolving line of credit.

                      Collateralized by virtually all of the assets of both Wyatt Livestock and
                       Wyatt Feeding, including livestock, farm products, feed, and equipment.

                      Supported by monthly borrowing base certificates as to livestock and feed
                       which were prepared, signed, and dated by Wyatt and his
                       girlfriend/accountant Cooley, then submitted to Banner Bank

                      Wyatt was the sole shareholder, director and officer of Wyatt Livestock.
                       Wyatt guaranteed all such loans.

               2.      Loans to Wyatt Feeding

               Banner Bank made three loans to Wyatt Feeding, which was organized under

Idaho law in 2013, with Wyatt and Cooley each owning 50% of the entity.

                      A $500,000 promissory note in August 2016;

                      A $57,000 promissory note in September 2015; and

                      A $95,000 promissory note in September 2015.




PLAINTIFF’S PRETRIAL MEMORANDUM - 5                                                          14662585.3
Case 18-08006-JMM        Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35            Desc Main
                                  Document     Page 6 of 13



                These loans were collateralized by a mortgage on the entity’s sole piece of real

property—a feedlot located in Hazelton, Idaho. The loans are also collateralized by virtually all

of the assets of Wyatt Feeding, including livestock, farm products, inventory, feed, and

equipment. Wyatt is a guarantor of the Banner Bank loans to Wyatt Feeding. Banner Bank’s

February 12, 2018, Proof of Claim specifically identifies all of the loans and related collateral.

Wyatt did not object to Banner Bank’s Proof of Claim.

        E.      The Critical BBCs Provided to Banner Bank by Wyatt Livestock and Wyatt
                Feeding.

                BBCs for both Wyatt Livestock (as to livestock) and Wyatt Feeding (as to feed)

were required by the loan documents between Banner Bank and those borrowers, on forms

provided by Banner Bank, which required that both borrowers sign and date the documents, and

aver to their truth.

                The BBCs were critical because they determined, under the formulas reflected in

the terms of the parties’ loan documents, the extent to which credit could be provided on an

ongoing basis to the borrowers. Banner Bank relied upon the accuracy and truthfulness of the

BBCs to make its business decisions with regard to its loans to Wyatt Livestock and Wyatt

Feeding, and was damaged because of that reliance.

                Cooley will provide critical testimony as to Wyatt’s falsification of BBCs on a

repeated basis between 2009 and 2016.

        F.      Wyatt’s Double Financing of Livestock.

                Cooley will further testify that, as to each BBC, Wyatt Livestock represented to

Banner Bank that the livestock identified on that document belonged solely to Wyatt Livestock,

when in fact they had already been 80% financed by Timmermans. In effect, Wyatt Livestock

was “double financing” the same livestock. Wyatt “double financed” the livestock in such a way



PLAINTIFF’S PRETRIAL MEMORANDUM - 6                                                        14662585.3
Case 18-08006-JMM         Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35          Desc Main
                                   Document     Page 7 of 13



that his life partner, bookkeeper and co-owner of Wyatt Feedlot characterized the BBCs

generated by Wyatt as “bold faced lies.” This knowledge came to Cooley in 2015, when she

discovered that Wyatt Livestock had no equity in 3,800 head of joint venture livestock, despite

statements made by Wyatt to the contrary in the BBCs.

       G.      Misrepresentations Made by Wyatt Regarding the Extent of the Ownership
               of Equipment by Wyatt Livestock and Wyatt Feeding.

               Banner Bank will establish at trial through Cooley’s testimony that Wyatt

Livestock did not even own the equipment that he claimed on his financial statements provided

Banner Bank for 2014 through 2017, and that Wyatt Livestock overvalued the equipment

identified on the financial statements. She will further testify to various misrepresentations on

the financial statements provided Banner Bank as to Wyatt Feeding.

       H.      Misrepresentations Made by Wyatt Regarding the Value of Equipment of
               Wyatt Livestock and Wyatt Feeding.

               Banner Bank will produce evidence at trial, through the testimony of Wyatt,

Cooley, or exhibits produced by Wyatt, establishing that he claimed in writing a total value of

the equipment of both Wyatt Livestock and Wyatt Feeding in a July 31, 2017, compiled financial

statement at over $1,978,812. Banner Bank will produce evidence that the only source of

information available to the CPA who prepared that document was Wyatt.

               Only two months later, on September 14, 2017, Wyatt provided Banner Bank

with two equipment appraisals for Wyatt Livestock and Wyatt Feeding. Banner Bank will

establish through Wyatt’s testimony that the appraisals represented the equipment remaining at

each entity, and their limited value. These three documents, all prepared by Wyatt, clearly

establish the fraudulent and untrue statements reflected in this case.




PLAINTIFF’S PRETRIAL MEMORANDUM - 7                                                       14662585.3
Case 18-08006-JMM         Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35            Desc Main
                                   Document     Page 8 of 13



                The 2017 Financial Statement was prepared to trick and defraud Banner Bank into

thinking that equipment was worth almost $2 million; the two subsequent appraisals were

intended to create “poor boy” values for the Chapter 7 bankruptcy that Wyatt was preparing to

file.

        I.      Misrepresentations Made by Wyatt in the BBCs Submitted to Banner Bank
                Under Penalty of Perjury.

                Banner Bank will produce BBCs and Cooley’s testimony that the livestock that

Wyatt, through Wyatt Livestock, claimed over years of BBCs submitted to Banner Bank simply

never existed, or assuming arguendo that they did, they were “double financed” and had no

value anyway.

        J.      Misrepresentations Made by Wyatt in “Double Financing Livestock”

                Candice Cooley’s trial testimony will clearly establish that Wyatt, acting through

Wyatt Livestock, was “double financing” the cows. Wyatt accomplished this by purchasing

cattle, requesting financing from Timmermans for 80% of each cow, and then representing to

Banner Bank on the BBC’s that Wyatt Livestock was the 100% owner of each such cow.

        K.      Misrepresentations Made by Wyatt and Contained in Financial Statements
                Provided to Banner Bank.

                Wyatt Livestock, Wyatt Feeding, and Wyatt annually provided financial

statements to Banner Bank which (a) substantially overstated the net worth of the parties;

(b) substantially overvaluing equipment, or claiming an interest in collateral that was

nonexistent; and (c) upon which Banner Bank relied.

                Cooley will testify that, in preparing financial statements for use by Banner Bank,

Wyatt would frequently include as assets trucking equipment, which actually belonged to




PLAINTIFF’S PRETRIAL MEMORANDUM - 8                                                         14662585.3
Case 18-08006-JMM        Doc 89    Filed 05/15/19 Entered 05/15/19 15:42:35            Desc Main
                                  Document     Page 9 of 13



Patrone. These additions falsely and fraudulently increased the assets and net worth of Wyatt

and his two entities.

               Banner Bank will also produce evidence from Cooley that because Wyatt

overstated the net worth of Wyatt Livestock by $1.6 million in that entity’s financial statement,

he also overstated his own personal net worth in his personal financial statement, signed and

sworn by Wyatt, as to his personal net worth of $1.6 million.

       L.      Wells Wyatt’s Concealment of Banner Bank Collateral Both Before and
               After the Bankruptcy Filing.

               Cooley will testify that Wyatt actively concealed the Banner Bank collateral, both

pre- and post-petition. These assets were not disclosed on the Debtor’s schedules or statements

of affairs, and were never provided to Banner Bank.

                                  III.   LEGAL STANDARD

       A.      Banner Bank’s Complaint Count 2: Violation of 11 U.S.C. Section 727(a)(3).

               Count 2 of Banner Bank’s Complaint alleges a violation of 11 U.S.C. Section

727(a)(3). With respect to this section, the Weddell court (Weddell v. Landis, 551 B.R. 74 (D.

Nev. 2016) explained:

               Section 727(a)(3) “places an affirmative duty on the debtor to
               create books and records accurately documenting his business
               affairs.” In re Caneva, 550 F.3d 755, 762 (9th Cir. 2008). “[T]he
               debtor must present sufficient written evidence which will enable
               his creditors reasonably to ascertain his present financial condition
               and to follow his business transactions for a reasonable period in
               the past.” Id. at 761 (quotations omitted). The Trustee bears the
               burden of proving by a preponderance of the evidence that: 1) “the
               debtor failed to maintain and preserve adequate records, and 2)
               that such failure makes it not possible to determine the debtor’s
               financial condition and material business transactions.” Id. at 761.
               “After showing inadequate or nonexistent records, the burden of
               proof then shifts to the debtor to justify the inadequacy or
               nonexistence of the records.” Id. The intent to conceal financial
               information is not a prerequisite to finding that records are



PLAINTIFF’S PRETRIAL MEMORANDUM - 9                                                       14662585.3
Case 18-08006-JMM         Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35             Desc Main
                                   Document      Page 10 of 13



               inadequate, nor is a lack of records justified by an honest belief
               that records do not need to be kept. In re Cox, 41 F.3d 1294, 1297
               (9th Cir.1994). There is no requirement to prove that a debtor’s
               failure to maintain records be “knowing” or “fraudulent.” In re
               Knowling, 2011 WL 5024298 (Bankr.D.Or.2011). In order to
               justify the fact that records were not kept, Weddell needed to
               establish that others in like circumstances would not keep them. Id.
               at 763.

Weddell, 551 B.R. at 82 (emphasis added) (upholding decision denying discharge where, “The

Bankruptcy Court specifically referenced the lack of records evidencing any gun for gold trades

or any cash for gold trades with the man known as Leonard. The absence of records relating to

these liquid assets, the Bankruptcy Court determined, made it impossible to determine Weddell’s

financial condition and material business transactions.”).

       B.      Banner Bank’s Complaint Count 4: Violation of 11 U.S.C. Section 727(a)(5).

               Count 4 of Banner Bank’s Complaint is based upon 11 U.S.C. Section 727(a)(5).

For this claim, an objecting creditor must show “(1) debtor at one time, not too remote from the

bankruptcy petition date, owned identifiable assets; (2) debtor no longer owned the assets on the

petition date; and (3) the bankruptcy pleadings or statement of affairs do not reflect an adequate

explanation for the disposition of the assets . . . Once this showing is made, the debtor must offer

credible evidence regarding the disposition of the missing assets.” In re Poole, 2017 WL

3598050, at *6 (B.A.P. 9th Cir. Aug. 21, 2017) (citing In re Retz, 606 F.3d at 1205); Weddell,

551 B.R. at 83 (“[U]nder Section 727(a)(5) after a creditor makes a prima facie showing that an

asset existed, but that neither it nor its proceeds can be located, the burden shifts to the debtor to

provide a satisfactory explanation for the missing asset.”) (quoting In re Retz, 606 F.3d at 1205).

               The evidence adduced at trial regarding this Count will deal with three types of

missing assets: (a) equipment; (b) livestock; and (c) equity that Wells Wyatt claimed in his two

entities – Wyatt Livestock and Wyatt Feeding.



PLAINTIFF’S PRETRIAL MEMORANDUM - 10                                                          14662585.3
Case 18-08006-JMM        Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35            Desc Main
                                  Document      Page 11 of 13



               Wyatt’s schedules and statements of affairs do not adequately explain these

losses. In fact the losses would be unknown but for the truthful testimony of Cooley.

       C.      Banner Bank’s Complaint Count 5: Violation of 11 U.S.C. Section
               727(a)(2)(B).

               Count 5 of Banner Bank’s Complaint is based upon 11 U.S.C. Section

523(a)(2)(B). With respect to the elements of this claim:

               A party seeking to deny discharge of a debt under this section must
               establish each of the following elements by a preponderance of the
               evidence:

                      (1) a representation of fact by the debtor,
                      (2) that was material,
                      (3) that the debtor knew at the time to be false,
                      (4) that the debtor made with the intention of deceiving the
                      creditor,
                      (5) upon which the creditor relied,
                      (6) that the creditor’s reliance was reasonable, and
                      (7) that damage proximately resulted from the representation.

In re Smith, 242 B.R. 694, 700 (B.A.P. 9th Cir. 1999) (citing In re Candland, 90 F.3d 1466, 1469

(9th Cir. 1996)).

               Cooley will testify at trial that Wyatt was intimately involved in preparing and

submitting borrowing base certificates to Banner Bank on behalf of both Wyatt Livestock and

Wyatt Feeding. Banner Bank will prove that Wyatt swore to the truth of, and signed each of, the

BBCs. Banner Bank will also adduce testimony that Banner Bank relied upon the truth of the

statements in those documents, and Banner Bank was damaged in each such instance.

       D.      Banner Bank’s Complaint Count 6: Violation of 11 U.S.C. Section
               523(a)(2)(A).

               Count 6 of Banner Bank’s Complaint is based upon 11 U.S.C. § 523(a)(2)(A).

               Under the bankruptcy code, to establish that a debt is
               nondischargeable on the grounds of fraud under § 523(a)(2)(A),
               Plaintiffs must prove five elements by a preponderance of the
               evidence: (1) misrepresentation, fraudulent omission, or deceptive


PLAINTIFF’S PRETRIAL MEMORANDUM - 11                                                      14662585.3
Case 18-08006-JMM        Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35            Desc Main
                                  Document      Page 12 of 13



               conduct by the debtor; (2) knowledge of the falsity or
               deceptiveness of his statement or conduct; (3) an intent to deceive;
               (4) justifiable reliance by the creditor on the debtor’s statement or
               conduct; and (5) damage to the creditor proximately caused by its
               reliance on the debtor’s statement or conduct.

In Re: Mowery, 591 B.R. 1, 3 (Bankr. D. Idaho 2018) (citing In re Sabban, 600 F.3d 1219, 1222

(9th Cir. 2010)).

               “A promise made without a present intent to perform satisfies § 523(a)(2)(A), as

does a representation which the debtor knew or should have known was outside of the debtor’s

prospective ability to perform.” In re Laraway, 2010 WL 3703272, at *6 (Bankr. D. Idaho Sept.

13, 2010).

               As to this provision, the evidence presented by the testimony will establish that he

claimed a total value of the equipment of both Wyatt Livestock and Wyatt Feeding on July 31,

2017, compiled financial statement at over $2 million, then within two months prepared an

appraisal of that same equipment that valued it at less than $450,000.

               Wyatt Livestock, Wyatt Feeding, and Wyatt annually provided financial

statements to Banner Bank which (a) substantially overstated the net worth of the parties;

(b) substantially overvaluing equipment, or claiming an interest in collateral that was

nonexistent; and (c) upon which Banner Bank relied.

               DATED this 15th day of May, 2019.

                                                     GIVENS PURSLEY LLP



                                                     By /s/ Randall A. Peterman
                                                       Randall A. Peterman – Of the Firm
                                                       Alexander P. McLaughlin – Of the Firm
                                                       Attorneys for Banner Bank




PLAINTIFF’S PRETRIAL MEMORANDUM - 12                                                       14662585.3
Case 18-08006-JMM      Doc 89     Filed 05/15/19 Entered 05/15/19 15:42:35        Desc Main
                                Document      Page 13 of 13



                              CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on the 15th day of May, 2019, I filed the foregoing
PLAINTIFF’S PRETRIAL MEMORANDUM electronically through the CM/ECF system,
which caused the following parties or counsel to be served by electronic means, as more fully
reflected on the Notice of Electronic Filing:

Patrick J. Geile
pgeile@foleyfreeman.com
abennett@foleyfreeman.com
r59345@notify.bestcase.com



                                                    /s/ Randall A. Peterman
                                                  Randall A. Peterman




PLAINTIFF’S PRETRIAL MEMORANDUM - 13                                                  14662585.3
